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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR- 14-10-M-DLC
                      Plaintiff,                      FINDINGS AND
                                                    RECOMMENDATION
        vs.                                         CONCERNING PLEA
 ALI SA CHERYL BAILEY, aka Alisha
 Cheryl Bailey, aka Janet Davis,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of uttering counterfeit obligations

or securities of the United States in violation of 18 U.S.C. § 472 (Count II), as set

forth in the Indictment. Defendant further agrees to the forfeiture allegation. In

exchange for Defendant's plea, the United States has agreed to dismiss Counts I,

III, IV, and V of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against her, and an


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 informed and voluntary admission to the allegation of forfeiture;

        2. That the Defendant is aware of the nature of the charge against her and

 the consequences of pleading guilty to the charge;

        3. That the Defendant understands the allegation of forfeiture and the

 consequences of admitting to the allegation;

        4. That the Defendant fully understands her constitutional rights, and the

 extent to which she is waiving those rights by pleading guilty to the criminal

 offense charged against her, and admitting to the allegation of forfeiture;

        5. That both her plea of guilty to the criminal offense charged against her

 and her admission to the allegation of forfeiture are knowingly and voluntarily

 entered, and are both supported by independent factual grounds sufficient to prove

 each of the essential elements of the criminal offense charged and the legal basis

 for the forfeiture.

        The Court further concludes that the Defendant had adequate time to review

 the Plea Agreement with counsel, that she fully understands each and every

. provision of the agreement and that all of the statements in the Plea Agreement are

 true. Therefore, I recommend that the Defendant be adjudged guilty Count II of

 the Indictment, and that sentence be imposed. I further recommend that Counts 2,

 III, IV and V of the Indictment be dismissed. I further recommend the agreed

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forfeiture be imposed against Defendant.

      This report is forwarded with the recommendation that the Court defer

a decision reaardina acceptance until the Court has reviewed the Plea

Aareement and the presentence report.

                  DATED this 26th day of March, 2014




                                      er      iah C. Lynch
                                           ited States Magistrate Judge




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